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                                                      RCN Webmail


   RCN Webmail                                                                    rssjrg@rcn.com


     Michael Eckerman



         From : Tamra Jackson <tsjcksn@icloud.com>                    Mon, Mar 06, 2023 07:20 PM
     Subject : Michael Eckerman
             To : rssjrg@rcn.com
      Your Honorable Judge Cooper:

      I am related to Michael Eckerman, as his wife’s aunt, sister to Sarah’s
      mother.

      I am very close to Sarah Eckerman, who is like a daughter to me. Sarah and
      Michael are model parents, that have provided very well for their children.
      They maintain a close relationship and bond between themselves and their
      children. I greatly admire the Eckerman family. Michael and Sarah have been
      together since high school, and I can attest to their love and devotion to
      each other. They have three beautiful children, and they are both very
      involved in their school activities and sports. Michael is a kind, generous,
      polite and always gracious man. Michael has always been an excellent
      provider. They have a lovely charming home where Michael has bonded closely
      with his children and Sarah. I know they would miss him greatly if he were
      ever absent from them. Michael’s care and generosity goes beyond his children
      and wife also, as he remains very close to extended family. His parents
      haven’t been well, and Michael helps with their needs and care.

      These last two years have been stressful for the Eckerman family, as they
      just want to get on with their lives, because Family time is most important
      to them.

      Apparently, you have received unfavorable letters regarding Michael from my
      sister, Katie. We have all been estranged from Katie since her dads death.
       She hasn’t spoken to anyone in our family, and we are afraid to reach out to
      her, respecting her privacy. We can only hope she recovers from her emotional
      difficulties.


      Sincerely,
      Tamra Jackson

      Sent from my iPhone




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